
Mr. Justice Clayton
delivered the opinion of the court.
The defendant in error instituted an action against four persons in the court below, as the makers and indorser of a promissory note, the plaintiff in error alone being an indorser. The writ was executed on all the parties, but the plaintiff dismissed the action as to the makers of the note, and took judgment against the indorser only, who brought the cause by writ of error to this court.
*513This mode of proceeding is obviously against the statute, and has heretofore been decided to be erroneous. Wilkinson, et al. v. Tiffanny, Duvall &amp; Co., 5 Howard, 411.
The judgment was rendered against Boush, by default; all we can do is to reverse it,, and remand it to the court below.
